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10
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
11
12   ANN FOX, individually and on behalf )    Case No.
     of all others similarly situated,   )
13                                       )    CLASS ACTION
14   Plaintiff,                          )
                                         )    FIRST AMENDED COMPLAINT
15
            vs.                          )    FOR VIOLATIONS OF:
16                                       )
     NCSPLUS INCORPORATED,               )        1.     NEGLIGENT VIOLATIONS
17                                                       OF THE TELEPHONE
                                         )               CONSUMER PROTECTION
18   Defendant.                          )               ACT [47 U.S.C. §227 ET
19                                       )               SEQ.]
                                                  2.     WILLFUL VIOLATIONS
                                         )               OF THE TELEPHONE
20
                                         )               CONSUMER PROTECTION
21                                       )               ACT [47 U.S.C. §227 ET
                                                         SEQ.]
22
                                         )
                                         )
23                                            DEMAND FOR JURY TRIAL
                                         )
24                                       )
25
26         Plaintiff Ann Fox (“Plaintiff”), individually and on behalf of all others
27   similarly situated, alleges the following upon information and belief based upon
28   personal knowledge:



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 1                              NATURE OF THE CASE
 2         1.     Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of NCSPLUS Incorporated
 5   (“Defendant”) in negligently, knowingly, and/or willfully contacting Plaintiff on
 6   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 7   Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 8                             JURISDICTION & VENUE
 9         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
10   a resident of California, seeks relief on behalf of a Class, which will result in at
11   least one class member belonging to a different state than that of Defendant, a
12   company with its principal place of business and State of Incorporation in Iowa
13   state. Plaintiff also seeks up to $1,500.00 in damages for each call in violation of
14   the TCPA, which, when aggregated among a proposed class in the thousands,
15   exceeds the $5,000,000.00 threshold for federal court jurisdiction. Therefore,
16   both diversity jurisdiction and the damages threshold under the Class Action
17   Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
18         3.       Venue is proper in the United States District Court for the Central
19   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
20   because Defendant does business within the state of California and the Central
21   District of California.
22                                       PARTIES
23         4.     Plaintiff, Ann Fox (“Plaintiff”), is a natural person residing in Santa
24   Barbara, California and is a “person” as defined by 47 U.S.C. § 153 (10).
25         5.     Defendant, NCSPLUS Incorporated (“Defendant”), is a leader in
26   consumer debt buying and recovery/collection and is a “person” as defined by 47
27   U.S.C. § 153 (10).
28                             FACTUAL ALLEGATIONS


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 1         6.     Beginning in and around 2014, Defendant contacted Plaintiff on her
 2   cellular telephone number ending in -2104, in an attempt to collect an alleged
 3   outstanding debt.
 4         7.     Defendant used an “automatic telephone dialing system”, as defined
 5   by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to collect the
 6   debt allegedly owed.
 7         8.     Defendant would occasionally leave voicemail messages on
 8   Plaintiff’s cellular telephone if Plaintiff did not answer Defendant’s calls. In
 9   some of these messages, Defendant utilized an “artificial or prerecorded voice” as
10   prohibited by 47 U.S.C. § 227(b)(1)(A).
11         9.     One of the messages containing the prerecorded voice stated the
12   following on or around May 4, 2013, at 12:13 p.m.:
13
14                “Hello this is a message for Ann Fox. If you are not Ann Fox, please
                  hang up or disconnect. If you are, Ann Fox, please continue to listen
15                to this message. There will now be a three-second pause in this
16                message. By continuing to listen to this message, you acknowledge
                  you are Ann Fox. This is a message from NCS (inaudible) this is an
17
                  attempt to collect a debt, and any information obtained will be used
18                for that purpose. Please contact our office about an important matter
19
                  at (877)366-3970. Again, the number is (877)366-3970. Thank you.
                  Goodbye.”
20
           10.    Defendant’s calls constituted calls that were not for emergency
21
     purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22
           11.    Defendant’s calls were placed to telephone number assigned to a
23
     cellular telephone service for which Plaintiff incurs a charge for incoming calls
24
     pursuant to 47 U.S.C. § 227(b)(1).
25
           12.    Defendant never received Plaintiff’s “prior express consent” to
26
     receive calls using an automatic telephone dialing system or an artificial or
27
     prerecorded voice on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
28



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 1                                CLASS ALLEGATIONS
 2         13.    Plaintiff brings this action individually and on behalf of all others
 3   similarly situated, as a member of the proposed class (hereafter “The Class”)
 4   defined as follows:
 5
                  All persons within the United States who received any
 6                collection telephone calls from Defendant to said
 7                person’s cellular telephone made through the use of any
                  automatic telephone dialing system or an artificial or
 8
                  prerecorded voice and such person had not previously
 9                consented to receiving such calls within the four years
10
                  prior to the filing of this Complaint

11
           14.    Plaintiff represents, and is a member of, The Class, consisting of All
12
     persons within the United States who received any collection telephone calls from
13
     Defendant to said person’s cellular telephone made through the use of any
14
     automatic telephone dialing system or an artificial or prerecorded voice and such
15
     person had not previously not provided their cellular telephone number to
16
     Defendant within the four years prior to the filing of this Complaint.
17
           15.    Defendant, its employees and agents are excluded from The Class.
18
     Plaintiff does not know the number of members in The Class, but believes the
19
     Class members number in the thousands, if not more. Thus, this matter should be
20
     certified as a Class Action to assist in the expeditious litigation of the matter.
21
           16.    The Class is so numerous that the individual joinder of all of its
22
     members is impractical. While the exact number and identities of The Class
23
     members are unknown to Plaintiff at this time and can only be ascertained
24
     through appropriate discovery, Plaintiff is informed and believes and thereon
25
     alleges that The Class includes thousands of members. Plaintiff alleges that The
26
     Class members may be ascertained by the records maintained by Defendant.
27
           17.    Plaintiff and members of The Class were harmed by the acts of
28
     Defendant in at least the following ways: Defendant illegally contacted Plaintiff


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 1   and Class members via their cellular telephones thereby causing Plaintiff and
 2   Class members to incur certain charges or reduced telephone time for which
 3   Plaintiff and Class members had previously paid by having to retrieve or
 4   administer messages left by Defendant during those illegal calls, and invading the
 5   privacy of said Plaintiff and Class members.
 6         18.    Common questions of fact and law exist as to all members of The
 7   Class which predominate over any questions affecting only individual members
 8   of The Class. These common legal and factual questions, which do not vary
 9   between Class members, and which may be determined without reference to the
10   individual circumstances of any Class members, include, but are not limited to,
11   the following:
12                a.    Whether, within the four years prior to the filing of this
13                      Complaint, Defendant made any collection call (other than a
14                      call made for emergency purposes or made with the prior
15                      express consent of the called party) to a Class member using
16                      any automatic telephone dialing system or any artificial or
17                      prerecorded voice to any telephone number assigned to a
18                      cellular telephone service;
19                b.    Whether Plaintiff and the Class members were damages
20   thereby, and the                extent of damages for such violation; and
21                c.    Whether Defendant should be enjoined from engaging in such
22   conduct in               the future.
23         19.    As a person that received numerous collection calls from Defendant
24   using an automatic telephone dialing system or an artificial or prerecorded voice,
25   without Plaintiff’s prior express consent, Plaintiff is asserting claims that are
26   typical of The Class.
27         20.    Plaintiff will fairly and adequately protect the interests of the
28   members of The Class.       Plaintiff has retained attorneys experienced in the


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 1   prosecution of class actions.
 2         21.    A class action is superior to other available methods of fair and
 3                efficient
 4   adjudication of this controversy, since individual litigation of the claims of all
 5   Class members is impracticable. Even if every Class member could afford
 6   individual litigation, the court system could not. It would be unduly burdensome
 7   to the courts in which individual litigation of numerous issues would proceed.
 8   Individualized litigation would also present the potential for varying, inconsistent,
 9   or contradictory judgments and would magnify the delay and expense to all
10   parties and to the court system resulting from multiple trials of the same complex
11   factual issues. By contrast, the conduct of this action as a class action presents
12   fewer management difficulties, conserves the resources of the parties and of the
13   court system, and protects the rights of each Class member.
14         22.    The prosecution of separate actions by individual Class members
15   would create a risk of adjudications with respect to them that would, as a practical
16   matter, be dispositive of the interests of the other Class members not parties to
17   such adjudications or that would substantially impair or impede the ability of such
18   non-party Class members to protect their interests.
19         23.    Defendant has acted or refused to act in respects generally applicable
20   to The Class, thereby making appropriate final and injunctive relief with regard to
21   the members of the California Class as a whole.
22                             FIRST CAUSE OF ACTION
23          Negligent Violations of the Telephone Consumer Protection Act
24                                   47 U.S.C. §227 et seq.
25         24.    Plaintiff repeats and incorporates by reference into this cause of
26   action the allegations set forth above at Paragraphs 1-23.
27         25.    The foregoing acts and omissions of Defendant constitute numerous
28   and multiple negligent violations of the TCPA, including but not limited to each


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 1   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
 2          26.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 3   seq., Plaintiff and the Class Members are entitled an award of $500.00 in
 4   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 5   227(b)(3)(B).
 6          27.   Plaintiff and the Class members are also entitled to and seek
 7   injunctive relief prohibiting such conduct in the future.
 8                           SECOND CAUSE OF ACTION
 9     Knowing and/or Willful Violations of the Telephone Consumer Protection
10                                           Act
11                                 47 U.S.C. §227 et seq.
12          28.   Plaintiff repeats and incorporates by reference into this cause of
13   action the allegations set forth above at Paragraphs 1-27.
14          29.   The foregoing acts and omissions of Defendant constitute numerous
15   and multiple knowing and/or willful violations of the TCPA, including but not
16   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
17   seq.
18          30.   As a result of Defendant’s knowing and/or willful violations of 47
19   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
20   $1,500.00 in statutory damages, for each and every violation, pursuant to 47
21   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
22          31.   Plaintiff and the Class members are also entitled to and seek
23   injunctive relief prohibiting such conduct in the future.
24                                PRAYER FOR RELIEF
25    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
26
27
28



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 1                           FIRST CAUSE OF ACTION
 2          Negligent Violations of the Telephone Consumer Protection Act
 3                               47 U.S.C. §227 et seq.
 4               As a result of Defendant’s negligent violations of 47 U.S.C.
 5               §227(b)(1), Plaintiff and the Class members are entitled to and
 6               request $1500 in statutory damages, for each and every violation,
 7               pursuant to 47 U.S.C. 227(b)(3)(B).
 8               Any and all other relief that the Court deems just and proper.
 9                         SECOND CAUSE OF ACTION
10     Knowing and/or Willful Violations of the Telephone Consumer Protection
11                                          Act
12                               47 U.S.C. §227 et seq.
13               As a result of Defendant’s willful and/or knowing violations of 47
14               U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
15               and request treble damages, as provided by statute, up to $1,500, for
16               each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and
17               47 U.S.C. §227(b)(3)(C).
18               Any and all other relief that the Court deems just and proper.
19         Respectfully Submitted this 17th day of December, 2014.
20
21                            LAW OFFICES OF TODD M. FRIEDMAN, P.C.
22
23                                   By: /s/ Todd M. Friedman
                                         Todd M. Friedman
24                                       Law Offices of Todd M. Friedman
25                                       Attorney for Plaintiff
26
27
28



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